AO 257 (Rev. 6/78)             Case 3:21-cr-00121-JD Document 1-1 Filed 03/23/21 Page 1 of 4

       DEFENDANT INFORMATION RELATIVE TO A CRIMINAL ACTION - IN U.S. DISTRICT COURT
BY:       COMPLAINT               INFORMATION                    INDICTMENT                          Name of District Court, and/or Judge/Magistrate Location
                                                                 SUPERSEDING                           NORTHERN DISTRICT OF CALIFORNIA
          OFFENSE CHARGED
                                                                                                                 SAN FRANCISCO DIVISION
 Count One: 18 U.S.C. § 1512(k) – Conspiracy to Destroy                    Petty
 Records in Official Proceedings;
 Count Two: 18 U.S.C. § 1512(c)(1) – Destruction of Records in             Minor              DEFENDANT - U.S
                                                                                                                                                   FILED
 Official Proceedings;
 Count Three: 18 U.S.C. § 1512(c)(2) – Obstruction of Official             Misde-                                                                     Mar 23 2021

 Proceedings                                                               meanor                JESSIE ALEXANDER RUSH                             SUSANY. SOONG
                                                                           Felony                                                             CLERK, U.S. DISTRICT COURT
                                                                                                 DISTRICT COURT NUMBER                     NORTHERN DISTRICT OF CALIFORNIA
PENALTY:      Maximum penalties (per count): 20 years of imprisonment;                                                                              SAN FRANCISCO
              $250,000 fine; 3 years of supervised release; $100 special
              assessment
                                                                                                 CR 21-0121 JD


                                                                                                                           DEFENDANT
                              PROCEEDING                                                           IS NOT IN CUSTODY
                                                                                                     Has not been arrested, pending outcome this proceeding.
  Name of Complaintant Agency, or Person (& Title, if any)                                  1)       If not detained give date any prior
                     Federal Bureau of Investigation
                                                                                                     summons was served on above charges          
       person is awaiting trial in another Federal or State Court,                          2)       Is a Fugitive
       give name of court
                                                                                            3)       Is on Bail or Release from (show District)

       this person/proceeding is transferred from another district
       per (circle one) FRCrp 20, 21, or 40. Show District
                                                                                                   IS IN CUSTODY
                                                                                            4)       On this charge
       this is a reprosecution of

                                                                                                                                      }
       charges previously dismissed                                                         5)       On another conviction
       which were dismissed on motion                              SHOW                                                                         Federal             State


                                                        }
       of:                                                       DOCKET NO.
                                                                                            6)       Awaiting trial on other charges
            U.S. ATTORNEY               DEFENSE
                                                                                                      If answer to (6) is "Yes", show name of institution

       this prosecution relates to a

                                                                                                                               }
                                                                                                                     Yes            If "Yes"
       pending case involving this same                                                          Has detainer
                                                                                                                                    give date
       defendant                                                 MAGISTRATE                      been filed?         No             filed


                                                        }
                                                                  CASE NO.
                                                                                                 DATE OF                    Month/Day/Year
       prior proceedings or appearance(s)
       before U.S. Magistrate regarding this                                                     ARREST
       defendant were recorded under                                                             Or... if Arresting Agency & Warrant were not

Name and Office of Person                                                                        DATE TRANSFERRED                         Month/Day/Year
Furnishing Information on this form                Stephanie M. Hinds                            TO U.S. CUSTODY
                                 U.S. Attorney          Other U.S. Agency

Name of Assistant U.S.                                                                                This report amends AO 257 previously submitted
Attorney (if assigned)                     Eric Cheng and Frank Riebli
                                                       ADDITIONAL INFORMATION OR COMMENTS
  PROCESS:
            SUMMONS                NO PROCESS*               WARRANT                Bail Amount: 1R%DLO
        If Summons, complete following:
             Arraignment    Initial Appearance                                      * Where defendant previously apprehended on complaint, no new summons or
                                                                                    warrant needed, since Magistrate has scheduled arraignment
        Defendant Address:

                                                                                    Date/Time:                                 Before Judge:

        Comments:
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       DEFENDANT INFORMATION RELATIVE TO A CRIMINAL ACTION - IN U.S. DISTRICT COURT
BY:       COMPLAINT               INFORMATION                   INDICTMENT                           Name of District Court, and/or Judge/Magistrate Location
                                                                SUPERSEDING                            NORTHERN DISTRICT OF CALIFORNIA
          OFFENSE CHARGED
                                                                                                                 SAN FRANCISCO DIVISION
 Count One: 18 U.S.C. § 1512(k) – Conspiracy to Destroy                    Petty
 Records in Official Proceedings;
 Counts Two and Four: 18 U.S.C. § 1512(c)(1) – Destruction of              Minor              DEFENDANT - U.S
                                                                                                                                                FILED
 Records in Official Proceedings
                                                                           Misde-                                                                 Mar 23 2021
                                                                           meanor                ROBERT JESUS BLANCAS
                                                                                                                                                SUSANY. SOONG
                                                                           Felony                                                          CLERK, U.S. DISTRICT COURT
                                                                                                 DISTRICT COURT NUMBER                  NORTHERN DISTRICT OF CALIFORNIA
PENALTY:      Maximum penalties (per count): 20 years of imprisonment;                                                                           SAN FRANCISCO
              $250,000 fine; 3 years of supervised release; $100 special
              assessment
                                                                                                 CR 21-0121 JD


                                                                                                                           DEFENDANT
                             PROCEEDING                                                            IS NOT IN CUSTODY
                                                                                                     Has not been arrested, pending outcome this proceeding.
  Name of Complaintant Agency, or Person (& Title, if any)                                  1)       If not detained give date any prior
                     Federal Bureau of Investigation
                                                                                                     summons was served on above charges         
       person is awaiting trial in another Federal or State Court,                          2)       Is a Fugitive
       give name of court
                                                                                            3)       Is on Bail or Release from (show District)

       this person/proceeding is transferred from another district
       per (circle one) FRCrp 20, 21, or 40. Show District
                                                                                                   IS IN CUSTODY
                                                                                            4)       On this charge
       this is a reprosecution of

                                                                                                                                      }
       charges previously dismissed                                                         5)       On another conviction
       which were dismissed on motion                             SHOW                                                                          Federal         State


                                                       }
       of:                                                      DOCKET NO.
                                                                                            6)       Awaiting trial on other charges
            U.S. ATTORNEY              DEFENSE
                                                                                                      If answer to (6) is "Yes", show name of institution

       this prosecution relates to a

                                                                                                                               }
                                                                                                                     Yes            If "Yes"
       pending case involving this same                                                          Has detainer
                                                                                                                                    give date
       defendant                                                MAGISTRATE                       been filed?         No             filed


                                                       }
                                                                 CASE NO.
                                                                                                 DATE OF                    Month/Day/Year
       prior proceedings or appearance(s)
       before U.S. Magistrate regarding this                                                     ARREST                            12/1/2020
       defendant were recorded under                                                             Or... if Arresting Agency & Warrant were not

Name and Office of Person                                                                        DATE TRANSFERRED                         Month/Day/Year
Furnishing Information on this form               Stephanie M. Hinds                             TO U.S. CUSTODY
                                 U.S. Attorney          Other U.S. Agency

Name of Assistant U.S.                                                                                This report amends AO 257 previously submitted
Attorney (if assigned)                     Eric Cheng and Frank Riebli
                                                       ADDITIONAL INFORMATION OR COMMENTS
  PROCESS:
            SUMMONS           ; NO PROCESS*                     WARRANT             Bail Amount:
        If Summons, complete following:
             Arraignment    Initial Appearance                                      * Where defendant previously apprehended on complaint, no new summons or
                                                                                    warrant needed, since Magistrate has scheduled arraignment
        Defendant Address:

                                                                                    Date/Time:                                 Before Judge:

        Comments:
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       DEFENDANT INFORMATION RELATIVE TO A CRIMINAL ACTION - IN U.S. DISTRICT COURT
BY:       COMPLAINT               INFORMATION                    INDICTMENT                          Name of District Court, and/or Judge/Magistrate Location
                                                                 SUPERSEDING                           NORTHERN DISTRICT OF CALIFORNIA
          OFFENSE CHARGED
                                                                                                                 SAN FRANCISCO DIVISION
 Count One: 18 U.S.C. § 1512(k) – Conspiracy to Destroy                    Petty
 Records in Official Proceedings;
 Count Two: 18 U.S.C. § 1512(c)(1) – Destruction of Records in             Minor              DEFENDANT - U.S
                                                                                                                                                 FILED
 Official Proceedings
                                                                           Misde-                                                                 Mar 23 2021
                                                                           meanor                SIMON SAGE YBARRA
                                                                                                                                                SUSANY. SOONG
                                                                           Felony                                                          CLERK, U.S. DISTRICT COURT
                                                                                                 DISTRICT COURT NUMBER                  NORTHERN DISTRICT OF CALIFORNIA
PENALTY:      Maximum penalties (per count): 20 years of imprisonment;                                                                           SAN FRANCISCO
              $250,000 fine; 3 years of supervised release; $100 special
              assessment
                                                                                                 CR 21-0121 JD


                                                                                                                           DEFENDANT
                              PROCEEDING                                                           IS NOT IN CUSTODY
                                                                                                     Has not been arrested, pending outcome this proceeding.
  Name of Complaintant Agency, or Person (& Title, if any)                                  1)       If not detained give date any prior
                     Federal Bureau of Investigation
                                                                                                     summons was served on above charges         
       person is awaiting trial in another Federal or State Court,                          2)       Is a Fugitive
       give name of court
                                                                                            3)       Is on Bail or Release from (show District)

       this person/proceeding is transferred from another district
       per (circle one) FRCrp 20, 21, or 40. Show District
                                                                                                   IS IN CUSTODY
                                                                                            4)       On this charge
       this is a reprosecution of

                                                                                                                                      }
       charges previously dismissed                                                         5)       On another conviction
       which were dismissed on motion                              SHOW                                                                         Federal         State


                                                        }
       of:                                                       DOCKET NO.
                                                                                            6)       Awaiting trial on other charges
            U.S. ATTORNEY               DEFENSE
                                                                                                      If answer to (6) is "Yes", show name of institution

       this prosecution relates to a

                                                                                                                               }
                                                                                                                     Yes            If "Yes"
       pending case involving this same                                                          Has detainer
                                                                                                                                    give date
       defendant                                                 MAGISTRATE                      been filed?         No             filed


                                                        }
                                                                  CASE NO.
                                                                                                 DATE OF                    Month/Day/Year
       prior proceedings or appearance(s)
       before U.S. Magistrate regarding this                                                     ARREST
       defendant were recorded under                                                             Or... if Arresting Agency & Warrant were not

Name and Office of Person                                                                        DATE TRANSFERRED                         Month/Day/Year
Furnishing Information on this form                Stephanie M. Hinds                            TO U.S. CUSTODY
                                 U.S. Attorney          Other U.S. Agency

Name of Assistant U.S.                                                                                This report amends AO 257 previously submitted
Attorney (if assigned)                     Eric Cheng and Frank Riebli
                                                       ADDITIONAL INFORMATION OR COMMENTS
  PROCESS:
            SUMMONS                NO PROCESS*               WARRANT                Bail Amount: 1R%DLO
        If Summons, complete following:
             Arraignment    Initial Appearance                                      * Where defendant previously apprehended on complaint, no new summons or
                                                                                    warrant needed, since Magistrate has scheduled arraignment
        Defendant Address:

                                                                                    Date/Time:                                 Before Judge:

        Comments:
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       DEFENDANT INFORMATION RELATIVE TO A CRIMINAL ACTION - IN U.S. DISTRICT COURT
BY:       COMPLAINT               INFORMATION                    INDICTMENT                          Name of District Court, and/or Judge/Magistrate Location
                                                                 SUPERSEDING                           NORTHERN DISTRICT OF CALIFORNIA
          OFFENSE CHARGED
                                                                                                                 SAN FRANCISCO DIVISION
 Count One: 18 U.S.C. § 1512(k) – Conspiracy to Destroy                    Petty
 Records in Official Proceedings;
 Count Two: 18 U.S.C. § 1512(c)(1) – Destruction of Records in
 Official Proceedings
                                                                           Minor              DEFENDANT - U.S                                   FILED
                                                                           Misde-
                                                                           meanor                KENNY MATTHEW MIKSCH                           Mar 23 2021

                                                                           Felony                                                            SUSANY. SOONG
                                                                                                 DISTRICT COURT NUMBER                  CLERK, U.S. DISTRICT COURT
PENALTY:      Maximum penalties (per count): 20 years of imprisonment;                                                               NORTHERN DISTRICT OF CALIFORNIA
              $250,000 fine; 3 years of supervised release; $100 special                                                                      SAN FRANCISCO
              assessment                                                                         CR 21-0121 JD


                                                                                                                           DEFENDANT
                              PROCEEDING                                                           IS NOT IN CUSTODY
                                                                                                     Has not been arrested, pending outcome this proceeding.
  Name of Complaintant Agency, or Person (& Title, if any)                                  1)       If not detained give date any prior
                     Federal Bureau of Investigation
                                                                                                     summons was served on above charges         
       person is awaiting trial in another Federal or State Court,                          2)       Is a Fugitive
       give name of court
                                                                                            3)       Is on Bail or Release from (show District)

       this person/proceeding is transferred from another district
       per (circle one) FRCrp 20, 21, or 40. Show District
                                                                                                   IS IN CUSTODY
                                                                                            4)       On this charge
       this is a reprosecution of

                                                                                                                                      }
       charges previously dismissed                                                         5)       On another conviction
       which were dismissed on motion                              SHOW                                                                         Federal         State


                                                        }
       of:                                                       DOCKET NO.
                                                                                            6)       Awaiting trial on other charges
            U.S. ATTORNEY               DEFENSE
                                                                                                      If answer to (6) is "Yes", show name of institution

       this prosecution relates to a

                                                                                                                               }
                                                                                                                     Yes            If "Yes"
       pending case involving this same                                                          Has detainer
                                                                                                                                    give date
       defendant                                                 MAGISTRATE                      been filed?         No             filed


                                                        }
                                                                  CASE NO.
                                                                                                 DATE OF                    Month/Day/Year
       prior proceedings or appearance(s)
       before U.S. Magistrate regarding this                                                     ARREST
       defendant were recorded under                                                             Or... if Arresting Agency & Warrant were not

Name and Office of Person                                                                        DATE TRANSFERRED                         Month/Day/Year
Furnishing Information on this form                Stephanie M. Hinds                            TO U.S. CUSTODY
                                 U.S. Attorney          Other U.S. Agency

Name of Assistant U.S.                                                                                This report amends AO 257 previously submitted
Attorney (if assigned)                     Eric Cheng and Frank Riebli
                                                       ADDITIONAL INFORMATION OR COMMENTS
  PROCESS:
            SUMMONS                NO PROCESS*               WARRANT                Bail Amount: 1R%DLO
        If Summons, complete following:
             Arraignment    Initial Appearance                                      * Where defendant previously apprehended on complaint, no new summons or
                                                                                    warrant needed, since Magistrate has scheduled arraignment
        Defendant Address:

                                                                                    Date/Time:                                 Before Judge:

        Comments:
